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PALM BEACH POLICE DEPARTMENT
Incident Report Program: CMS301L

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Reported By: RECAREY, JOSEPH 4/14/06
Entered By.: ALTOMARO, NICKIE A. 4/18/06

The Grand Jury Subpoenas were personally served to the individuals

they were issued to. On April 5, 2006, at approximately 7:30 p.m., I
personally served the parents of @™M& who had informed me that the
pvivate investigators were still photographing the Family. On April

 
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ime: 15:01:37 Incident Report Program: CMS301L

ise Na. . . . : 1-05-000368 (Continued)
10, 2006, at approximately 2:30 p.m., I served@Mlpat her residence in

ottiguiammiipen The subpoena was given to her mother, QM

I learned through one of the victims @JJ—\ that she was personally
contacted through a source that has maintained contact with Epstein.

The source assured@§$she would receive monetary compensation for her

assistance in not cooperating with law enforcement. so stated
"Phose who help him will be compensated and those who

she was told,

hurt him will be dealt with.” I told @lllgthat tampering with a
witness/victim is an arrestable offense and very serious. I asked her
who approached her during this encounter. Ml™poriginally was reluctant
to provide the name of the person who approached her to offer her not
to testify because she felt they were still friends.

On April 11, 2006, Det Dawson and I traveled to Tallahassee, Florida

and met with the victim; @™m identified SGM W/r,

oe as the person who approached her in Royal Paim Beach while
she was home during Spring Break in March 2006.q@@—Malso stated she
did not want to pursue the intimidation charges on 4agil Mi—pwas
concerned that the defense attorney was given a copy of the report as
certain things she had told me_in confidence were repeated to her b

   
   

       
